









Affirmed and Opinion filed June 27, 2002









Affirmed and Opinion filed June 27, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-01-01072-CR

NO. 14-01-01073-CR

___________

&nbsp;

ANGELA DEFOOR, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 262nd District Court

Harris County, Texas

Trial
Court Cause Nos. 877,935 &amp; 879,364

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

Appellant entered pleas of guilty, without an agreed
recommendation as to punishment, to the offenses of possession of more than
four grams, but less than 200 grams, of hydrocodone, and attempting to possess
a controlled substance by fraud..&nbsp; On
September 20, 2001, the trial court sentenced appellant to confinement for five
years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a notice of
appeal.








Appellant=s appointed counsel filed a brief in which he concludes that
the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), by presenting a
professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; As of this
date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed June 27, 2002.

Panel consists of Chief Justice
Brister and Justices Anderson and Frost.

Do not publish C Tex. R. App. P. 47.3(b).





